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165 WEST END AVENUE, SUITE SB PHONE: 1917) 885-5753
NEW YOR.K, NEW YORK 10023 EMA!L: EPHRA]M@SAVITTESQ.COM
BY ECF and EMAIL
Honorable Loretta A. Presl<a April 3, 2019
United States District Judge gap . ~ ‘ b
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Re: United States v. Moshe Benenfeld
Docl<et No. 1:18-cr~485~LAP
Requested Adiournment of Sentencing

Dear Judge Presl<a:

l respectfully submit this letter, on behalf of my client Moshe Benenfeld, to
request another adjournment of his sentencing date from May 29th to September
24, 2019 at 10 am Ms. Belmonte of Your Honor’ s chambers advised that the

M'§r§e§tluested§adjourn date 1s convenient for the Court. AUSA Dina McLeod advised
that the government consents to this application and that the date is also convenient

for the government

 

The primary reason for this requested adjournment is my continued recovery
from 2 regimens of post-cancer surgery radiation spanning 8 Weeks, Which ended
just 3 Weeks ago. My surgeon and oncology doctors expect that l Will make a full
recovery by the middle of the Summer and that I Will be able to function at least as
Well as l had before my cancer operations last Autumn, although l am ever-hopeful
for an improvement over my past performances

In addition, Mr., Benenfeld has far more serious health issues Which require
constant medical monitoring, and the adjournment Will give his physicians the
chance to treat him and, hopeH,llly, improve his health. He underwent major
surgery in February, the particulars of Which I Will explain in our sentencing
memorandum in a sectlon to be filed under seal for his privacy. He is being

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examined closely by his surgeon and post-surgical team and has been hospitalized
several times since his surgery because of chronic post-surgical infections. He is
scheduled to be examined several times a month during the first year after the
operation because of the concern that additional infections Will seriously
compromise his health.

Mr. Benenfeld has not recovered from the serious neurological condition
that has left him Wheelchair-bound at the relatively young age of 51. He is
functionally immobile and is continuing to undergo therapy to regain his mobility
Which, to date, has not yielded significant progress The additional period before
sentencing Will hopefully allow him to regain some of his mobility by then, With
the help of his neurologist and physical therapist.

l thank Your Honor for your courtesy and consideration
Respectfully submitted,

Ephrain:i Savitt, Esq.
Atto m eyfor Defen dam
Moshe Benenfeld
Cc: AUSA Dina McLeod (by email and ECF)
Probation Officer Michelle Millan (by email)

 

 

